            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 1 of 17




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

            UNITED STATES OF AMERICA                         CRIMINAL INDICTMENT
            v.                                                NO. 1:18-CR-309-LMM-LTW


            CHALMER DETLING, II,

                                 Defendant.

                                                 ORDER

                 I. A pretrial conference hearing shall be held in this criminal action on Monday,

           February 11, 2019 at 11:00 a.m., before the undersigned Magistrate Judge in

           Courtroom 1860, 18th Floor, United States Courthouse, 75 Ted Turner Drive, Atlanta,

           Georgia. Counsel who will actually handle the trial of the case must be present. The

           defendant need not be present. N.D. Ga. CrR. 17.1.

                 Please note that it shall be the responsibility of Defendant’s counsel to notify the

           office of the undersigned and counsel for the Government if no pretrial motions shall

           be filed and/or no pretrial conference is required.

                 II. Prior to the above-scheduled conference, the following shall occur:

                        A. The parties shall confer regarding the probable disposition of the case,

           scheduling problems, resolution of issues related to discovery production and the




AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 2 of 17




           mechanics thereof, possible motions, and possible stipulations of law and fact, pursuant

           to N.D. Ga. CrR. 12.1D.

                        B.   Upon the defendant’s request, the government shall permit the

           defendant to inspect and copy discoverable matter, including but not limited to, all

           Rule 16 materials, all search warrants and affidavits, consent forms for any searches that

           the defendant arguably has standing to challenge, Miranda rights and waiver of Miranda

           rights forms, and photographs from which identification of the defendant was made. If

           the government has discoverable materials not immediately available locally, it shall

           advise the defendant of the existence and nature of the items. N.D. Ga. CrR. 16.1.

                 In accordance with FED. R. CRIM. P. 12(b)(4), the government shall enumerate and

           describe with particularity the existence and nature of all items seized during any search

           that the defendant arguably has standing to challenge, including specifying where such

           items were seized during said search.1 Where reciprocal discovery is requested by the

           government, the attorney for the defendant shall personally advise the defendant of the

           request, the defendant’s obligations thereto, and the possibility of sanctions, including


                  1
                        Pursuant to N.D. Ga. CrR. 16.1, at arraignment the government is required
           to provide the defendant with an inventory of all items seized from the defendant by
           law enforcement officials which the government expects to introduce at trial.
           The government SHALL furnish the affected defendant with such an inventory.

                                                       2


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 3 of 17




           exclusion of any such evidence from trial, for failure to comply with the Rule. See FED.

           R. CRIM. P. 16(b) and (d); N.D. Ga. CrR. 16.1.

                        C. A party desiring to inspect and copy any materials which were not

           available initially shall be permitted to do so in accordance with the Local Rules.

           N.D. Ga. CrR. 16.1.

                        D. All discovery of materials known by the parties or their agents to exist

           shall be completed within the times contemplated by this order unless a modifying order

           is entered upon motion made under N.D. Ga. CrR. 16.1 or FED. R. CRIM. P. 16(d). The

           parties shall document, independent of their personal recollection, compliance with

           requests and orders for discovery.

                 III. Filing Pretrial Motions

                 The parties are reminded that pretrial disclosure in criminal cases generally is

           governed by FED. R. CRIM. P. 16 or pursuant to case law, such as Brady v. Maryland,

           373 U.S. 83 (1963), and that the government ordinarily has no basis upon which to

           object. The local rules require any party seeking relief through a motion to confer with

           opposing counsel in an attempt to resolve disputed matters prior to the filing of motions

           related thereto. N.D. Ga. CrR. 12.1.D. Moreover, FED. R. CRIM. P. 16 directs that the

           government must produce discoverable material upon only a “request” of the defendant.

                                                      3


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 4 of 17




                 Therefore, counsel are DIRECTED to NOT file any motion for materials or

           information or other relief that: (1) the opposing party has agreed to provide, or (2) the

           party is entitled to inspect and copy under applicable criminal rules and case law,

           UNLESS the attorney certifies to the court in writing that: (1) the materials have been

           requested from the opposing party or the motion for other relief has been discussed with

           the counsel for the opposing party, and (2) the opposing counsel declines to provide the

           materials/information/relief requested. If counsel believes it is necessary to document

           what is requested from, or agreed to by, the government, he or she may do so by letter

           to opposing counsel, without filing or copying such letter with the Court. Counsel also

           may re-label his or her standard motions as “Requests” and serve them on opposing

           counsel, but NOT file them with the Clerk’s Office or the Court. Or, counsel may file

           with the Clerk a certification that the defendant had served the government with a

           discovery request, and keep the original discovery request in his or her file, to be filed

           with the Clerk only upon the need to use the request in court, similar to the practice in

           civil cases. See N.D. Ga. R. 5.4 and 26.3. The Court WILL discuss any such requests

           at the pretrial conference. The requests, certificates or letters may later be used to

           support a motion for sanctions or to compel, if the opposing party fails to comply with

           his or her legal obligations or agreements. See FED. R. CRIM. P. 16(d)(2).

                                                       4


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 5 of 17




                 If, after consultation and failure to reach an agreement with opposing counsel,

           counsel files a motion for materials or information outside the scope of

           FED. R. CRIM. P. 16 and relevant case law, he or she shall do so ONLY by making a

           particularized showing that relates to the facts of this case.

                 IV. Standard Rulings

                 The following rulings are made in this case and are intended only to obviate the

           need for standard, non-particularized motions on these subjects. Any party who

           disagrees with these standard rulings may file, within the time allowed for filing

           motions, see N.D. Ga. CrR. 12.1(B), a particularized motion for relief therefrom,

           including a motion to compel or for a protective order.

                        A. Discovery Materials: Upon request of the defendant, the government

           is directed to provide to the defendant all materials and information falling within the

           scope of FED. R. CRIM. P. 16 and N.D. Ga. CrR. 16.1, including but not limited to an

           inventory of all items seized from the defendant by law enforcement officials which the

           government intends to introduce at trial. The government has a continuing duty to

           disclose any evidence that is subject to discovery or inspection. United States v. Jordan,

           316 F.3d 1215, 1249 (11th Cir. 2003); FED. R. CRIM. P. 16(c).




                                                       5


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 6 of 17




                        B.    Discovery and Disclosure of Evidence Arguably Subject to

           Suppression and of Evidence Which is Exculpatory and/or Impeaching:                Upon

           request of the defendant, the government is directed to comply with

           FED. RS. CRIM. P. 12 and 16, by providing notice as specified in section II.B, supra. The

           government also is directed to provide all materials and information that are arguably

           favorable to the defendant in compliance with its obligations under Brady v. Maryland,

           373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972); and their progeny.

           Exculpatory material as defined in Brady and Kyles v. Whitley, 514 U.S. 419, 434

           (1995), shall be provided sufficiently in advance of trial to allow a defendant to use it

           effectively. Impeachment material must be provided no later than production of the

           Jencks Act statements.

                        C. Rule 404(b): Upon request of the defendant, the government is directed

           to provide to the defense a summary of any evidence it intends to offer of other crimes,

           wrongs or acts pursuant to FED. R. EVID. 404(b). The 404(b) evidence shall be

           provided to the defense as soon as practicable after the government has determined

           to use such evidence, subject to the following deadlines: If the 404(b) evidence

           pertains to acts or conduct of the defendant which is alleged to have occurred within the

           Northern District of Georgia, the summary required to be provided under this heading

                                                      6


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 7 of 17




           and the rule shall be provided no later than fourteen (14) days before trial. If the acts

           or conduct is alleged to have occurred outside the Northern District of Georgia, the

           summary required to be provided under this heading shall be provided no later than

           twenty-one (21) days before trial.

                        D.    Preservation of Evidence and Handwritten Notes of Agents:

           The government is directed to preserve all evidence and handwritten notes of law

           enforcement officers pertaining to this case and the defendant. Notwithstanding this

           provision, if the government wishes to destroy contraband drug evidence in

           conformance with the procedures set forth in 28 C.F.R. § 50.21, the government must

           first give each affected defendant notice in writing of the intended contraband

           destruction. Said notice shall not be given earlier than fourteen (14) days after the entry

           of this Order. Any defendant shall have fourteen (14) days after the date of the notice

           to file a written objection to the proposed contraband destruction. If no objections are

           filed and the government otherwise has complied with any applicable protocol under

           28 C.F.R. § 50.21, the government may destroy the excess contraband.2




                  2
                        The government is reminded that the provisions of this Order apply only
           to parties presently before the Court and not to defendants who have not been
           apprehended or who are subsequently charged in this case.

                                                       7


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 8 of 17




                        E. Examination and Testing of Physical Evidence: The defendant shall

           be allowed to examine and test physical evidence under reasonable conditions which

           maintain the integrity of the evidence.

                        F.   Monitored Phone Calls of an In-Custody and All Electronic

           Recordings of Defendant: The government shall disclose to the defendant if it has

           heard, used, or intends to use, any monitored phone calls made by the defendant while

           in custody, and shall disclose to defendant all electronic monitoring of the defendant in

           accordance with FED. R. CRIM. P. 16 and 18 U.S.C. § 2500, et seq. (Title III).

           A defendant is not entitled to the recorded conversations of co-defendants or others to

           which he/she was not a party, unless required to be produced by Rule 16, the Jencks

           Act, or Brady and/or Giglio.

                        G. Identification Materials: The government shall disclose to the defense

           the circumstances under which any photographic or lineup identification of the

           defendant was made and shall provide the defendant with copies of any photographs

           used to make any identification.

                        H. Charts and Summaries: The government shall produce any charts or

           summaries to be used in its opening statement or presentation of its case-in-chief at trial

           no later than three (3) business days before trial. The defendant shall produce any

                                                       8


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 9 of 17




           charts and summaries to be used in his or her opening statement no later than three (3)

           business days before trial. All other charts and summaries shall be produced to the other

           party at least one (1) business day prior to their use. As used in this paragraph, the term

           “summaries” excludes summaries of expert testimony which must be disclosed upon

           request under FED. R. CRIM. P. 16(a)(1)(G); expert summaries are due to be disclosed

           in the time provided for discovery.

                        I. Jencks Act (18 U.S.C. § 3500): The Court has no authority to order the

           government to provide Jencks Act material at any time prior to the completion of direct

           examination of the government witness at issue. Jordan, 316 F.3d at 1227 n.17, 1251

           & n.78. The Court strongly encourages the government to disclose Jencks Act material

           before the pretrial hearing or trial at which the witness will be called to testify. Any

           agreement between the parties to provide early Jencks Act material may be

           memorialized orally at the pretrial conference or by letter agreement between the parties.

           The government is ORDERED to comply with the Jencks Act.

                        J. Names of Unindicted Co-Conspirators: If there is a conspiracy count

           in the indictment or if the government intends to rely on FED. R. EVID. 801(d)(2)(E) to

           introduce co-conspirator statements, the government is directed to provide the defendant

           with the names of unindicted co-conspirators known to the government, but not with

                                                       9


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 10 of 17




           statements made by co-conspirators or with their address or other identifying

           information, unless required by the Jencks Act, Brady and/or Giglio.

                         K. Identification of Government Witnesses:            Upon request of the

           defendant, the government is required to provide the names of all expert witnesses,

           along with other information and materials required by FED. R. CRIM. P. 16(a)(1)(F) and

           (G) and FED. RS. EVID. 702, 703, and 705.

                  No party is required to provide a list of its other witnesses in advance of trial

           unless otherwise compelled by law. The Court will entertain a motion for a witness list

           only if it is particularized to the facts of this case.

                         L. Bruton Issues:      The government shall disclose to the defendant and

           the Court whether it anticipates introduction at trial of a co-defendant’s statement that

           inculpates the defendant, within the meaning of Bruton v. United States, 391 U.S. 123

           (1968). At the pretrial conference, the government shall be prepared to announce

           whether, if both defendants opted to go to trial, they could not be tried jointly since the

           co-defendant’s statements could not be properly redacted to comply with the Supreme

           Court’s directive in Gray v. Maryland, 523 U.S. 185 (1998).

                         M. Motions to Sever Defendants Under FED. R. CRIM. P. 14(a) Due to

           Prejudicial Overspill:      Severance under FED. R. CRIM. P. 14 where there is an

                                                         10


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 11 of 17




           allegation of undue prejudice from a joint trial due to prejudicial “overspill” is

           warranted only when a defendant demonstrates that a joint trial will result in “specific

           and compelling prejudice” to his or her defense. Compelling prejudice occurs when the

           jury is unable, even after proper instruction from the trial court, “to separately appraise

           the evidence as to each defendant and render a fair and impartial verdict.” United States

           v. Liss, 265 F.3d 1220, 1228 (11th Cir. 2001). The trial court is empowered to sever

           defendants or counts after the commencement of the trial under Rule 14 if manifest

           necessity so requires. United States v. Butler, 41 F.3d 1435, 1441 (11th Cir. 1995).

           Therefore, any motion for severance on grounds of prejudicial overspill should not be

           filed unless it sets out specific, individualized grounds as to why the defendant is

           unduly prejudiced by a joint trial with others.

                        N. Reserving Right to File Additional or Out-of-Time Motions: Motions

           for an extension of time to file pretrial motions are not granted as a matter of right, but

           must be based on good cause shown. Any motion to file additional or out-of-time

           motions must contain a particularized statement of the existence of good cause to file

           such a motion, must identify the specific motion or motions that may be filed, a

           statement of the position of opposing counsel, and be accompanied by a proposed order




                                                       11


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 12 of 17




           which includes appropriate language excluding any delay under the Speedy Trial Act,

           18 U.S.C. § 3161, et seq.

                        O. Motion to Adopt Motions of Co-Defendants: No motion to adopt one

           or more motions of a co-defendant shall be filed unless it is accompanied by a statement

           specifically demonstrating the standing of the adopting party to seek the relief requested

           in each motion sought to be adopted. A motion to adopt shall only seek to adopt a

           single motion of a co-defendant; moving to adopt multiple motions, even of the same

           co-defendant, requires the filing of a separate motion to adopt as to each motion. As to

           any motion sought to be adopted, the adopting defendant must either (1) specifically

           identify the motion sought to be adopted by its docket number in CM/ECF (preferred);

           or (2) include as an attachment to the motion to adopt a copy of at least the front page

           of the motion sought to be adopted. The motion must otherwise comply with the

           requirements of N.D. Ga. CrR. 12.1.C. Any motions to adopt not filed in compliance

           with this paragraph shall be denied.

                        P. Motion for Reciprocal Discovery: If the defendant has requested

           discovery, upon request of the government following its compliance with its

           FED. R. CRIM. P. 16(a)(1)(E) obligations, the defendant is required to provide discovery




                                                      12


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 13 of 17




           materials and information in accordance with FED. R. CRIM. P. 16(b) and N.D. Ga. CrR. 16.1.

                 Subject to the above instructions:

                        (1) Unless otherwise extended by the undersigned or the District Judge

           to whom this case is assigned for trial, the parties shall file with the Clerk within (14)

           fourteen days after arraignment any necessary pretrial motions pursuant to

           N.D. Ga. CrR. 12.1A and B and 16.1 and N.D. Ga. R. 5.1.A, 7, 10 and 11.

                        (2)   Each motion other than a motion to adopt shall contain a

           certification that counsel conferred with opposing counsel concerning the subject

           matter of the motion but was unable to reach agreement on the resolution of the

           issue therein. N.D. Ga. CrR. 12.1D.

                 V. Procedure at Pretrial Conference

                        A. Government counsel shall be prepared to discuss:

                               1.     The circumstances surrounding any arrest of the
                                      defendant;
                               2.     The circumstances surrounding any identifications
                                      made of the defendant;
                               3.     The circumstances surrounding any statements made
                                      by the defendant to law enforcement or other
                                      government agents; and
                               4.     The circumstances surrounding any searches or
                                      seizures that resulted in evidence that the Government
                                      intends to use against the defendant.


                                                       13


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 14 of 17




                              5.    Whether it intends to introduce any evidence pursuant
                                    to FED. R. EVID. 404(b).
                              6.    Whether it intends to introduce any expert testimony.

                       B. Where possible, the undersigned will rule orally on any motions that

           have been filed. The rulings will be noted on the docket sheets and the docket of the

           case.

                       C. Evidentiary hearings will be scheduled.

                       D. Counsel also shall be prepared to discuss the following:

                              1.    Evidentiary and other legal issues they anticipate may
                                    arise at trial;
                              2.    Probability of disposition of the case without trial;
                              3.    Problems relating to the scheduling of trial; and
                              4.    Whether any facts can be stipulated.

                       E. Failure to respond to a motion after being directed to do so within

           fourteen (14) days thereafter or at such time as set by the Magistrate Judge may be

           considered as indicating there is no opposition to the motion. N.D. Ga. R.7.1.B;

           N.D. Ga. CrR. 12.1.B.




                                                    14


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 15 of 17




                        F. Failure by a party to raise defenses or objections or make motions as

           specified in FED. R. CRIM. P. 12(b)(3)(A)-(D) shall constitute a waiver thereof, unless

           good cause for such failure is shown.3

                        G. When a party fails to supplement or perfect a motion within the time

           afforded after having requested or been given an opportunity to supplement or perfect

           said motion, the Court may deem the original motion abandoned or withdrawn.

                 VI. Rescheduling of the Pretrial Conference

                 The pretrial conference may be continued only by order of the Court. A party

           seeking to continue a pretrial conference must first confer with all other counsel

           representing parties in this case to determine whether all parties consent to the

           continuance. If all parties consent to the rescheduling of the pretrial conference, the

           party seeking the continuance should then contact the undersigned Magistrate Judge’s

           Courtroom Deputy Clerk to request to reschedule the pretrial conference, and if said

           request is granted, to set a new date and time for the conference.

                 If a party seeking to continue a pretrial conference cannot obtain the consent of

           all parties in this case, a written motion specifying the reasons for the continuance must

                  3
                       A motion is not necessary to protect a party’s right to Rule 16 discovery
           materials and information so long as the party seeking protection complies with the
           procedure set forth in this Order. See FED. R. CRIM. P. 12(b)(3)(E).

                                                      15


AO 72A
(Rev.8/8
2)
            Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 16 of 17




           be filed with the Clerk and a courtesy copy served on the undersigned at least one (1)

           business day prior to the pretrial conference. Any consent continuance or motion to

           continue the pretrial conference shall be accompanied by a proposed order which

           includes the following: (1) a place for the entry of any rescheduled date and time to hold

           the pretrial conference, and (2) the following language for the Court’s consideration:

                        ( ) The delay between the original and rescheduled pretrial
                 conferences shall be excluded from Speedy Trial Act calculations because
                 the Court finds that the reason for the delay was for good cause and the
                 interests of justice in granting the continuance outweigh the public’s and
                 the defendant’s rights to a speedy trial. 18 U.S.C. § 3161, et seq.

                       ( ) The delay between the original and rescheduled pretrial
                 conferences shall not be excluded for Speedy Trial Act purposes.
                 18 U.S.C. § 3161, et seq.

                        ( ) The Court finds that due to the extensive discovery in this case,
                 it was necessary to extend the time for the defendants to file pretrial
                 motions, and accordingly, postpone the holding of the initial pretrial
                 conference. The Court finds that the interests of justice in continuing the
                 pretrial motions deadline and in holding the pretrial conference
                 substantially outweigh the interests of the public and defendants in the
                 speedy resolution of this matter, and thus the Clerk is directed to count as
                 excludable any delay occurring in extending the motions deadline and the
                 holding of the pretrial conference. 18 U.S.C. § 3161, et seq.


                 IT IS SO ORDERED, this the 5th day of FEBRUARY, 2019.




                                                      16


AO 72A
(Rev.8/8
2)
           Case 1:18-cr-00309-LMM-LTW Document 43 Filed 02/05/19 Page 17 of 17




                                            /S/LINDA T. WALKER
                                            UNITED STATES MAGISTRATE JUDGE




                                               17


AO 72A
(Rev.8/8
2)
